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              1      COOLEY LLP
                     TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
              2      JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
                     101 California Street, 5th floor
              3      San Francisco, CA 94111-5800
                     Telephone: (415) 693-2000
              4      Facsimile: (415) 693-2222

              5      DANIEL J. GROOMS (D.C. Bar No. 219124) (pro hac vice forthcoming)
                     (dgrooms@cooley.com)
              6      1299 Pennsylvania Avenue, NW, Suite 700
                     Washington, DC 20004-2400
              7      Telephone: (202) 842-7800
                     Facsimile: (202) 842-7899
              8
                     Attorneys for Plaintiffs
              9      WHATSAPP INC. and FACEBOOK, INC.

            10
                                                    UNITED STATES DISTRICT COURT
            11
                                                NORTHERN DISTRICT OF CALIFORNIA
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                     WHATSAPP INC., a Delaware corporation,         Case No.
            14       and FACEBOOK, INC., a Delaware
                     corporation,                                   COMPLAINT
            15
                                                                    DEMAND FOR JURY TRIAL
            16                        Plaintiffs,

            17              v.

            18       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            19
                                      Defendants.
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              1              Plaintiffs WhatsApp Inc. and Facebook, Inc. (collectively, “Plaintiffs”) allege the following

              2      against Defendants NSO Group Technologies Ltd. (“NSO Group”) and Q Cyber Technologies Ltd.

              3      (“Q Cyber”) (collectively, “Defendants”):

              4                                                  INTRODUCTION

              5              1.        Between in and around April 2019 and May 2019, Defendants used WhatsApp servers,

              6      located in the United States and elsewhere, to send malware to approximately 1,400 mobile phones

              7      and devices (“Target Devices”). Defendants’ malware was designed to infect the Target Devices for

              8      the purpose of conducting surveillance of specific WhatsApp users (“Target Users”). Unable to break

              9      WhatsApp’s end-to-end encryption, Defendants developed their malware in order to access messages

            10       and other communications after they were decrypted on Target Devices. Defendants’ actions were

            11       not authorized by Plaintiffs and were in violation of WhatsApp’s Terms of Service. In May 2019,

            12       Plaintiffs detected and stopped Defendants’ unauthorized access and abuse of the WhatsApp Service

            13       and computers.

            14               2.        Plaintiffs bring this action for injunctive relief and damages pursuant to the Computer

            15       Fraud and Abuse Act, 18 U.S.C. § 1030, and the California Comprehensive Computer Data Access

            16       and Fraud Act, California Penal Code § 502, and for breach of contract and trespass to chattels.

            17                                                       PARTIES

            18               3.        Plaintiff WhatsApp Inc. (“WhatsApp”) is a Delaware corporation with its principal

            19       place of business in Menlo Park, California.

            20               4.        Plaintiff Facebook, Inc. (“Facebook”) is a Delaware corporation with its principal place

            21       of business in Menlo Park, California. Facebook acts as WhatsApp’s service provider for security-

            22       related issues.

            23               5.        Defendant NSO Group was incorporated in Israel on January 25, 2010, as a limited

            24       liability company. Ex. 1. NSO Group had a marketing and sales arm in the United States called

            25       WestBridge Technologies, Inc. Ex. 2 and 3. Between 2014 and February 2019, NSO Group obtained

            26       financing from a San Francisco–based private equity firm, which ultimately purchased a controlling

            27       stake in NSO Group. Ex. 4. In and around February 2019, NSO Group was reacquired by its founders

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              1      and management. Id. NSO Group’s annual report filed on February 28, 2019, listed Defendant Q

              2      Cyber as the only active director of NSO Group and its majority shareholder. Ex. 5.

              3             6.      Defendant Q Cyber was incorporated in Israel on December 2, 2013, under the name

              4      L.E.G.D. Company Ltd. Ex. 6 and 7. On May 29, 2016, L.E.G.D. Company Ltd. changed its name

              5      to Q Cyber. Ex. 7. Until at least June 2019, NSO Group’s website stated that NSO Group was “a Q

              6      Cyber Technologies company.” Ex. 8. Q Cyber’s annual report filed on June 17, 2019, listed OSY

              7      Technologies S.A.R.L. as the only Q Cyber shareholder and active Director. Ex. 9

              8             7.      At all times material to this action, each Defendant was the agent, partner, alter ego,

              9      subsidiary, and/or coconspirator of and with the other Defendant, and the acts of each Defendant were

            10       in the scope of that relationship. In doing the acts and failing to act as alleged in this Complaint, each

            11       Defendant acted with the knowledge, permission, and consent of each other; and, each Defendant

            12       aided and abetted each other.

            13                                          JURISDICTION AND VENUE

            14              8.      The Court has federal question jurisdiction over the federal causes of action alleged in

            15       this Complaint pursuant to 28 U.S.C. § 1331.

            16              9.      The Court has supplemental jurisdiction over the state law causes of action alleged in

            17       this Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out of the same nucleus of

            18       operative fact as Plaintiffs’ federal claims.

            19              10.     In addition, the Court has jurisdiction over all the causes of action alleged in this

            20       Complaint pursuant to 28 U.S.C. § 1332 because complete diversity between the Plaintiffs and each

            21       of the named Defendants exists, and because the amount in controversy exceeds $75,000.

            22              11.     The Court has personal jurisdiction over Defendants because they obtained financing

            23       from California and directed and targeted their actions at California and its residents, WhatsApp and

            24       Facebook. The claims in this Complaint arise from Defendants’ actions, including their unlawful

            25       access and use of WhatsApp computers, several of which are located in California.

            26              12.     The Court also has personal jurisdiction over Defendants because Defendants agreed

            27       to WhatsApp’s Terms of Service (“WhatsApp Terms”) by accessing and using WhatsApp. In relevant

            28       part, the WhatsApp Terms required Defendants to submit to the personal jurisdiction of this Court.
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              1             13.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b), as the

              2      threatened and actual harm to WhatsApp and Facebook occurred in this District.

              3             14.     Pursuant to Civil L.R. 3-2(d), this case may be assigned to either the San Francisco or

              4      Oakland division because WhatsApp and Facebook are located in San Mateo County.

              5                                         FACTUAL ALLEGATIONS

              6             A.      Background on Facebook

              7             15.     Facebook is a social networking website and mobile application that enables its users

              8      to create their own personal profiles and connect with each other on their personal computers and

              9      mobile devices. As of June 2019, Facebook daily active users averaged 1.59 billion and monthly active

            10       users averaged 2.41 billion.

            11              16.     In October 2014, Facebook acquired WhatsApp. At all times relevant to this action,

            12       Facebook has served as WhatsApp’s service provider, which entails providing both infrastructure and

            13       security for WhatsApp.

            14              B.      Background on WhatsApp
            15                      1.     The WhatsApp Service
            16              17.     WhatsApp provides an encrypted communication service available on mobile devices

            17       and desktop computers (the “WhatsApp Service”). Approximately 1.5 billion people in 180 countries

            18       use the WhatsApp Service. Users must install the WhatsApp app to use the WhatsApp Service.

            19              18.     Every type of communication (calls, video calls, chats, group chats, images, videos,

            20       voice messages, and file transfers) on the WhatsApp Service is encrypted during its transmission

            21       between users. This encryption protocol was designed to ensure that no one other than the intended

            22       recipient could read any communication sent using the WhatsApp Service.

            23                      2.     WhatsApp’s Terms of Service

            24              19.     Every WhatsApp user must create an account and agree and consent to WhatsApp’s

            25       Terms (available at https://www.whatsapp.com/legal?eea=0#terms-of-service).

            26              20.     The WhatsApp Terms stated that “You must use our Services according to our Terms

            27       and policies” and that users agreed to “access and use [WhatsApp’s] Services only for legal,

            28       authorized, and acceptable purposes.”
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              1              21.     The WhatsApp Terms prohibited using the WhatsApp services in ways that (a) “violate,

              2      misappropriate, or infringe the rights of WhatsApp, our users, or others, including privacy;” (b) “are

              3      illegal, intimidating, harassing, . . . or instigate or encourage conduct that would be illegal, or otherwise

              4      inappropriate;” [or] . . . (e) “involve sending illegal or impermissible communications.”

              5              22.     The WhatsApp Terms prohibited users from “exploiting [WhatsApp’s] Services in

              6      impermissible or unauthorized manners, or in ways that burden, impair, or harm us, our Services,

              7      systems, our users, or others.” The Terms also required users to agree not to: “(a) reverse engineer,

              8      alter, modify, create derivative works from, decompile, or extract code from our Services; (b) send,

              9      store, or transmit viruses or other harmful computer code through or onto our Services; (c) gain or

            10       attempt to gain unauthorized access to our Services or systems; (d) interfere with or disrupt the safety,

            11       security, or performance of our Services; [or] . . . (f) collect the information of or about our users in

            12       any impermissible or unauthorized manner.”

            13               23.     The WhatsApp Terms prohibited users not just from personally engaging in the conduct

            14       listed above, but also from assisting others in doing so.

            15               C.      Background on NSO Group and Pegasus
            16               24.     Defendants manufactured, distributed, and operated surveillance technology or

            17       “spyware” designed to intercept and extract information and communications from mobile phones and

            18       devices. Defendants’ products included “Pegasus,” a type of spyware known as a remote access trojan.

            19       Ex. 10 and 11. According to Defendants, Pegasus and its variants (collectively, “Pegasus”) were

            20       designed to be remotely installed and enable the remote access and control of information—including

            21       calls, messages, and location—on mobile devices using the Android, iOS, and BlackBerry operating

            22       systems. Id.

            23               25.     On information and belief, in order to enable Pegasus’ remote installation, Defendants

            24       exploited vulnerabilities in operating systems and applications (e.g., CVE-2016-4657) and used other

            25       malware delivery methods, like spearphishing messages containing links to malicious code. Id.

            26               26.     According to media reports and NSO documents, Defendants claimed that Pegasus

            27       could be surreptitiously installed on a victim’s phone without the victim taking any action, such as

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              1      clicking a link or opening a message (known as remote installation). 1 Id. Defendants promoted that

              2      Pegasus’s remote installation feature facilitated infecting victims’ phones without using spearphishing

              3      messages that could be detected and reported by the victims.

              4             27.     According to NSO Group, Pegasus could “remotely and covertly extract valuable

              5      intelligence from virtually any mobile device.” Id. Pegasus was designed, in part, to intercept

              6      communications sent to and from a device, including communications over iMessage, Skype,

              7      Telegram, WeChat, Facebook Messenger, WhatsApp, and others. Id. On information and belief,

              8      Pegasus was modular malware, which meant that it could be customized for different purposes,

              9      including to intercept communications, capture screenshots, and exfiltrate browser history and

            10       contacts from the device. Id.

            11              28.     Defendants used a network of computers to monitor and update the version of Pegasus

            12       implanted on the victims’ phones. Id. These Defendant-controlled computers relayed malware,

            13       commands, and data between a compromised phone, Defendants, and Defendants’ customers. This

            14       network served as the nerve center through which Defendants supported and controlled their

            15       customers’ operation and use of Pegasus. In some instances, Defendants limited the number of

            16       concurrent devices that their customers could compromise with Pegasus to 25. Ex. 11.

            17              29.     Defendants profited by licensing Pegasus and selling support services to their

            18       customers, which included Pegasus installation, monitoring, and training. Ex. 10 and 11. Defendants

            19       also offered technical support to customers using Pegasus to infect victims’ phones, including: (a)

            20       technical support by email and phone; and (b) remote troubleshooting by Defendants’ engineers

            21       through remote desktop software and a virtual private network. Id.

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                      See Financial Times, “Israel’s NSO: the business of spying on your iPhone” (May 14, 2019),
            27       available at https://www.ft.com/content/7f2f39b2-733e-11e9-bf5c-6eeb837566c5; Vice, “They Got
                     Everything” (September 20, 2018), available at https://www.vice.com/en_us/article/qvakb3/inside-
            28       nso-group-spyware-demo.
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              1               D.    Defendants Agreed to the WhatsApp Terms

              2               30.   Between January 2018 and May 2019, Defendants created and caused to be created

              3      various WhatsApp accounts and agreed to the WhatsApp Terms. Defendants’ employees and agents

              4      accepted and agreed to be bound by the Terms on behalf of Defendants.

              5               31.   At all times relevant to this Complaint, Defendants were bound by the WhatsApp

              6      Terms.

              7               E.    Defendants Accessed and Used Plaintiffs’ Servers Without Authorization

              8                     and Infected Target Users’ Devices With Malware

              9                     1.     Overview

            10                32.   Defendants took a number of steps, using WhatsApp servers and the WhatsApp Service

            11       without authorization, to send discrete malware components (“malicious code”) to Target Devices.

            12       First, Defendants set up various computer infrastructure, including WhatsApp accounts and remote

            13       servers, used to infect the Target Devices and conceal Defendants’ identity and involvement. Second,

            14       Defendants used and caused to be used WhatsApp accounts to initiate calls through Plaintiffs’ servers

            15       that were designed to secretly inject malicious code onto Target Devices. Third, Defendants caused

            16       the malicious code to execute on some of the Target Devices, creating a connection between those

            17       Target Devices and computers controlled by Defendants (the “remote servers”).             Fourth, on

            18       information and belief, Defendants caused Target Devices to download and install additional

            19       malware—believed to be Pegasus or another remote access trojan developed by Defendants—from

            20       the remote servers for the purpose of accessing data and communications on Target Devices.

            21                      2.     Defendants Set Up Computer Infrastructure Used to Infect the Target

            22                             Devices

            23                33.   Between approximately January 2018 and May 2019, Defendants created WhatsApp

            24       accounts that they used and caused to be used to send malicious code to Target Devices in April and

            25       May 2019. The accounts were created using telephone numbers registered in different counties,

            26       including Cyprus, Israel, Brazil, Indonesia, Sweden, and the Netherlands.

            27                34.   Beginning no later than 2019, Defendants leased and caused to be leased servers and

            28       internet hosting services in different countries, including the United States, in order to connect the
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              1      Target Devices to a network of remote servers intended to distribute malware and relay commands to

              2      the Target Devices. This network included proxy servers and relay servers (collectively, “malicious

              3      servers”). The malicious servers were owned by Choopa, Quadranet, and Amazon Web Services

              4      (“AWS”), among others. The IP address of one of the malicious servers was previously associated

              5      with subdomains used by Defendants.

              6                     3.      Defendants’ Unauthorized Access of Plaintiff’s Servers
              7             35.     On information and belief, Defendants reverse-engineered the WhatsApp app and

              8      developed a program to enable them to emulate legitimate WhatsApp network traffic in order to

              9      transmit malicious code—undetected—to Target Devices over WhatsApp servers.                Defendants’

            10       program was sophisticated, and built to exploit specific components of WhatsApp network protocols

            11       and code. Network protocols generally define rules that control communications between network

            12       computers, including protocols for computers to identify and connect with other computers, as well as

            13       formatting rules that specify how data is packaged and transmitted.

            14              36.     In order to compromise the Target Devices, Defendants routed and caused to be routed

            15       malicious code through Plaintiffs’ servers—including Signaling Servers and Relay Servers—

            16       concealed within part of the normal network protocol. WhatsApp’s Signaling Servers facilitated the

            17       initiation of calls between different devices using the WhatsApp Service. WhatsApp’s Relay Servers

            18       facilitated certain data transmissions over the WhatsApp Service. Defendants were not authorized to

            19       use Plaintiffs’ servers in this manner.

            20              37.     Between approximately April and May 2019, Defendants used and caused to be used,

            21       without authorization, WhatsApp Signaling Servers, in an effort to compromise Target Devices. To

            22       avoid the technical restrictions built into WhatsApp Signaling Servers, Defendants formatted call

            23       initiation messages containing malicious code to appear like a legitimate call and concealed the code

            24       within call settings. Disguising the malicious code as call settings enabled Defendants to deliver it to

            25       the Target Device and made the malicious code appear as if it originated from WhatsApp Signaling

            26       Servers. Once Defendants’ calls were delivered to the Target Device, they injected the malicious code

            27       into the memory of the Target Device—even when the Target User did not answer the call.

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              1             38.     For example, on May 9, 2019, Defendants used WhatsApp servers to route malicious

              2      code, which masqueraded as a series of legitimate calls and call settings, to a Target Device using

              3      telephone number (202) XXX-XXXX. On information and belief, the malicious code concealed

              4      within the calls was then installed in the memory of the Target Device.

              5             39.     Between April and May 2019, Defendants also used and caused to be used WhatsApp’s

              6      Relay Servers without authorization to send encrypted data packets designed to activate the malicious

              7      code injected into the memory of the Target Devices. When successfully executed, the malicious code

              8      caused the Target Device to send a request to one of the malicious servers controlled by Defendants.

              9             40.     On information and belief, the malicious servers connected the Target Devices to

            10       remote servers hosting Defendants’ malware. The malicious code on the Target Devices then

            11       downloaded and installed Defendants’ malware from those servers.

            12              41.     On information and belief, after it was installed, Defendants’ malware was designed to

            13       give Defendants and their customers access to information and data stored on the Target Devices,

            14       including their communications.

            15              42.     Between approximately April 29, 2019, and May 10, 2019, Defendants caused their

            16       malicious code to be transmitted over WhatsApp servers in an effort to infect approximately 1,400

            17       Target Devices. The Target Users included attorneys, journalists, human rights activists, political

            18       dissidents, diplomats, and other senior foreign government officials.

            19              43.     The Target Users had WhatsApp numbers with country codes from several countries,

            20       including the Kingdom of Bahrain, the United Arab Emirates, and Mexico. According to public

            21       reporting, Defendants’ clients include, but are not limited to, government agencies in the Kingdom of

            22       Bahrain, the United Arab Emirates, and Mexico as well as private entities. 2

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                       See Fast Company, “Israeli cyberweapon targeted the widow of a slain Mexican journalist” (March
                     20, 2019), available at https://www.fastcompany.com/90322618/nso-group-pegasus-cyberweapon-
            25       targeted-the-widow-of-a-slain-mexican-journalist; New York Times, “Hacking a Prince, and Emir and
                     a     Journalist   to     Impress     a    Client”   (August    31,     2018),     available    at
            26       https://www.nytimes.com/2018/08/31/world/middleeast/hacking-united-arab-emirates-nso-
                     group.html; The Guardian, “Israeli firm linked to WhatsApp spyware attack faces lawsuit” (May 18,
            27       2019), available at https://www.theguardian.com/world/2019/may/18/israeli-firm-nso-group-linked-
                     to-whatsapp-spyware-attack-faces-lawsuit.
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              1              44.     On or about May 13, 2019, Facebook publicly announced that it had investigated and

              2      identified a vulnerability involving the WhatsApp Service (CVE-2019-3568).              WhatsApp and

              3      Facebook closed the vulnerability, contacted law enforcement, and advised users to update the

              4      WhatsApp app.

              5              45.     Defendants subsequently complained that WhatsApp had closed the vulnerability.

              6      Specifically, NSO Employee 1 stated, “You just closed our biggest remote for cellular . . . It’s on the

              7      news all over the world.”

              8              F.      Defendants’ Unlawful Acts Have Caused Damage and Loss to WhatsApp and

              9                      Facebook

            10               46.     Defendants’ actions and omissions interfered with the WhatsApp Service and burdened

            11       Plaintiffs’ computer network.

            12               47.     Defendants’ actions injured Plaintiffs’ reputation, public trust, and goodwill.

            13               48.     Defendants have caused Plaintiffs damages in excess of $75,000 and in an amount to

            14       be proven at trial.

            15                                           FIRST CAUSE OF ACTION

            16                                (Computer Fraud and Abuse Act, 18 U.S.C. § 1030)

            17               49.     Plaintiffs reallege and incorporate by reference all preceding paragraphs.

            18               50.     At various times between April 29, 2019, and May 10, 2019, Defendants accessed,

            19       used, or caused to be accessed or used Plaintiffs’ Signaling Servers and Relay Servers without

            20       authorization in an effort to compromise approximately 1,400 Target Devices.

            21               51.     Plaintiffs’ Signaling Servers and Relay Servers and the Target Devices were

            22       “computers” as defined by 18 U.S.C. § 1030(e)(1).

            23               52.     Plaintiffs’ Signaling Servers and Relay Servers and the Target Devices were “protected

            24       computers” as defined by 18 U.S.C. § 1030(e)(2)(B) because they are “used in or affecting interstate

            25       or foreign commerce or communication.”

            26               53.     Defendants violated 18 U.S.C. § 1030(a)(2) because they intentionally accessed and

            27       caused to be accessed (a) Plaintiffs’ computers, and (b) Target Devices, without authorization and, on

            28       information and belief, obtained data from the Target Devices.
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              1             54.     Defendants violated 18 U.S.C. § 1030(a)(4) because they knowingly and with intent to

              2      defraud accessed and caused to be accessed (a) Plaintiffs’ protected computers and (b) Target Devices

              3      without authorization, and by means of such conduct furthered the intended fraud and obtained

              4      something of value. Defendants’ fraud included falsely agreeing to the WhatsApp Terms, sending

              5      unauthorized commands to Plaintiffs’ computers and concealing the commands as legitimate network

              6      traffic, in order to gain access of the Target Devices without the Target Users’ knowledge or consent.

              7      As a result of the fraud, Defendants obtained money, customers, remote access and control of the

              8      Target Devices, data from the Target Devices, and unauthorized use of the WhatsApp service, the

              9      value of which exceeds $5,000.

            10              55.     Defendants violated 18 U.S.C. § 1030(b) by conspiring and attempting to commit the

            11       violations alleged in the preceding paragraphs.

            12              56.     Defendants’ conduct caused a loss to Plaintiffs and the Target Users in excess of $5,000

            13       during a one-year period.

            14              57.     Defendants’ actions caused Plaintiffs to incur a loss as defined in 18 U.S.C.

            15       § 1030(e)(11), including the expenditure of resources to investigate and remediate Defendants’ fraud

            16       and unauthorized access. Plaintiffs are entitled to be compensated for losses and damages, and any

            17       other amount to be proven at trial.

            18                                         SECOND CAUSE OF ACTION

            19                        (California Comprehensive Computer Data Access and Fraud Act,
                                                       California Penal Code § 502)
            20
            21              58.     Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

            22              59.     Defendants knowingly accessed and without permission altered and used Plaintiffs’

            23       data, computer, computer system, and computer network in order to (a) devise and execute a scheme

            24       and artifice to defraud and deceive, and (b) wrongfully control and obtain money, property, and data

            25       in violation of California Penal Code § 502(c)(1).

            26              60.     Defendants knowingly and without permission used and caused to be used WhatsApp

            27       Signaling Servers and Relay Servers, including servers located in California, in violation of California

            28       Penal Code § 502(c)(3).
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              1             61.     Defendants knowingly and without permission provided and assisted in providing a

              2      means of accessing Plaintiffs’ computers, computer systems, and computer networks, including those

              3      located in California, in violation of California Penal Code § 502(c)(6).

              4             62.     Defendants knowingly and without permission accessed and caused to be accessed

              5      Plaintiffs’ computers, computer systems, and computer networks, including those located in

              6      California, in violation of California Penal Code § 502(c)(7).

              7             63.     Defendants knowingly introduced a computer contaminant into Plaintiffs’ computers,

              8      computer systems, and computer networks in violation of California Penal Code § 502(c)(8).

              9             64.     Defendants’ actions caused Plaintiffs to incur losses and damages, including, among

            10       other things, the expenditure of resources to investigate and remediate Defendants’ conduct, damage

            11       to Plaintiffs’ reputation, and damage to the relationships and goodwill between Plaintiffs and their

            12       users and potential users. Plaintiffs have been damaged in an amount to be proven at trial.

            13              65.     Because Plaintiffs suffered damages and a loss as a result of Defendants’ actions and

            14       continue to suffer damages as result of Defendants’ actions, Plaintiffs are entitled to compensatory

            15       damages, attorneys’ fees, and any other amount of damages to be proven at trial, as well as injunctive

            16       relief under California Penal Code §§ 502(e)(1) and (2).

            17              66.     Because Defendants willfully violated California Penal Code § 502, and there is clear

            18       and convincing evidence that Defendants acted with malice and oppression and committed “fraud” as

            19       defined by section 3294 of the Civil Code, Plaintiffs are entitled to punitive and exemplary damages

            20       under California Penal Code § 502(e)(4).

            21                                              THIRD CAUSE OF ACTION

            22                                                    (Breach of Contract)

            23              67.     Plaintiffs reallege and incorporate by reference all preceding paragraphs.

            24              68.     Access to and use of WhatsApp is governed by the WhatsApp’s Terms and related

            25       WhatsApp policies.

            26              69.     Defendants agreed to and became bound by the WhatsApp’s Terms when they used

            27       WhatsApp and the WhatsApp Service.

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              1             70.     WhatsApp and Facebook have performed all conditions, covenants, and promises

              2      required of it in accordance with the WhatsApp’s Terms.

              3             71.     Defendants’ violations of the WhatsApp’s Terms have directly and proximately caused

              4      and continue to cause harm and injury to WhatsApp.

              5             72.     When Defendants agreed to and became bound by the WhatsApp Terms, both Plaintiffs

              6      and Defendants knew or could have reasonably foreseen that the harm and injury to Plaintiffs was

              7      likely to occur in the ordinary course of events as a result of Defendants’ breach.

              8             73.     Defendants’ actions caused Plaintiffs to incur losses and other economic damages,

              9      including, among other things, the expenditure of resources to investigate and remediate Defendants’

            10       conduct, damage to Plaintiffs’ reputation, and damage to the relationships and goodwill between

            11       Plaintiffs and their users and potential users. Plaintiffs have been damaged in an amount to be proven

            12       at trial, and in excess of $75,000.

            13                                             FOURTH CAUSE OF ACTION

            14                                                   (Trespass to Chattels)

            15              74.     Plaintiffs reallege and incorporate by reference all of the preceding paragraphs.

            16              75.     At all times mentioned in this Complaint, Plaintiffs had legal title to and actual

            17       possession of their computer systems.

            18              76.     Defendants intentionally and without authorization interfered with Plaintiffs’

            19       possessory interest in their computer systems, including by accessing and using Plaintiffs’ servers to

            20       transmit malicious code for the purpose of unlawfully compromising Target Users’ devices, all

            21       without authorization from Plaintiffs and Target Users.

            22              77.     Defendants’ access to Plaintiffs’ computer systems exceeded the scope of the

            23       conditional access that Plaintiffs grant to legitimate users of the WhatsApp Service.

            24              78.     Defendants’ actions caused Plaintiffs to incur losses and other economic damages,

            25       including, among other things, the expenditure of resources to investigate and remediate Defendants’

            26       conduct, damage to Plaintiffs’ reputation, and damage to the relationships and goodwill between

            27       Plaintiffs and their users and potential users. Plaintiffs have been damaged in an amount to be proven

            28       at trial, and in excess of $75,000.
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              1                                              REQUEST FOR RELIEF

              2                  WHEREFORE, Plaintiffs request judgment against Defendants as follows:

              3                  1.    That the Court enter judgment against Defendants that Defendants have:

              4                       a. Violated the Computer Fraud and Abuse Act, in violation of 18 U.S.C. § 1030;

              5                       b. Violated the California Comprehensive Computer Data Access and Fraud Act, in

              6                           violation California Penal Code § 502;

              7                       c. Breached their contracts with WhatsApp in violation of California law;

              8                       d. Wrongfully trespassed on Plaintiffs’ property in violation of California law.

              9                  2.    That the Court enter a permanent injunction enjoining and restraining Defendants and

            10       their agents, servants, employees, successors, and assigns, and all other persons acting in concert with

            11       or conspiracy with any of them or who are affiliated with Defendants from:

            12                        a. Accessing or attempting to access WhatsApp’s and Facebook’s service, platform,

            13                            and computer systems;

            14                        b. Creating or maintaining any WhatsApp or Facebook account;

            15                        c. Engaging in any activity that disrupts, diminishes the quality of, interferes with the

            16                            performance of, or impairs the functionality of Plaintiffs’ service, platform, and

            17                            computer systems; and

            18                        d. Engaging in any activity, or facilitating others to do the same, that violates

            19                            WhatsApp’s or Facebook’s Terms;

            20                   3.    That WhatsApp and Facebook be awarded damages, including, but not limited to,

            21       compensatory, statutory, and punitive damages, as permitted by law and in such amounts to be proven

            22       at trial.

            23                   4.    That WhatsApp and Facebook be awarded their reasonable costs, including reasonable

            24       attorneys’ fees.

            25                   5.    That WhatsApp and Facebook be awarded pre- and post-judgment interest as allowed

            26       by law.

            27                   6.    That the Court grant all such other and further relief as the Court may deem just and

            28       proper.
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              1      PLAINTIFFS RESPECTFULLY DEMAND A JURY TRIAL.

              2
                     Dated: October 29, 2019           Respectively submitted,
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                                                       COOLEY LLP
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              5
                                                        /s/ Travis LeBlanc
              6
                                                        Travis LeBlanc
              7                                         Daniel J. Grooms
                                                        Joseph D. Mornin
              8
                                                        Attorneys for Plaintiffs
              9                                         WHATSAPP INC. and FACEBOOK, INC.

            10                                          Platform Enforcement and Litigation
                                                        Facebook, Inc.
            11                                          Jessica Romero
                                                        Tyler Smith
            12                                          Michael Chmelar
                                                        Bridget Freeman
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